Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 1 of 44 PageID #:11




                EXHIBIT B
         Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 2 of 44 PageID #:12




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       Summons - Alias Summons                                                          (03/15/21) CCG 0001 A
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~                         IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
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J_     Name all Parties
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       JORDAN PENLAND, KARL GERNER,
       EDWARD R BURKE, AND PAUL C BURKE

                                                         Plaintiff(s)
                                    V.
                                                                           Case No. .2021 L 006842
       CHICAGO PARK DISTRICT, SOLDIER
       FIELD, AND ASM GLOBAL

                                                     Defendant(s)
       ASM GLOBAL P~                N~C.  C/,O REGISTERED AGENT
       CORPORA`I'ION SERVICE CONfPANY
       251 I.ittle Falls Drive, Wilmington, DE 19808


                                    Address of Defendant(s)
       Please serve as follows (check one): C Certified Mail                      i- Sheriff Service         Alias
                                                               SUMMONS
       To each Defendant:
       You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
       You are summoned and required to file your appearance, in the office of the clerk of this court,
       within 30 days after service of this summons, not counting the day of service. If you fail to do so, a
       judgment by default may be entered against you for the relief asked in the complaint.
                                T HERP~..~ IJ    A   S~~'~~   1 O   FIL~     1 O U R   APi'EARA?V      CE.


       FILING AN APPEARANCE: Your appearance date is NOT a court date. It is the deadline
       for filing your appearance/answer. To file your appearance/answer YOU DO NO'I" NEED
       TO COME TO THE COURTHOUSE, unless you are unable to eFile your appearance/
       answer. You can download an Appearance form at http://wwwillinoiscourts.gov/Forms/
       approved/procedures/appearance.asp. After completing and saving your Appearance form, you can
       electronically file (e-File) it with the circuit clerk's office.

                       Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                            cookcountyclerkofcourt.org
                                                                    Page 1 of 3
                 Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 3 of 44 PageID #:13


    Summons - Alias Summons                                                                                    (03/15/21) CCG 0001 B
    E-FILING: E-filing is now mandatory with limited exemptions. To e-File, you must first create an account with
    an e-Filing service provider. Visit http://efile.illinoiscourts.gov/ service-providers.htm to learn more and to select a
    service provider.
~   If you need additional help or have trouble e-Filing, visit http://v,wwillinoiscourts.gov/faq/gethelp.asp or talk with
    your local circuit clerk's office. If you cannot e-file, you may be able to get an exemption that allows you to file in-
J   person or by mail. Ask your circuit clerk for more information or visit wwwillinoislegalaid.org.
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2   FEE WAIVER: If you are unable to pay your court fees, you can apply for a fee waiver. For information about
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M   defending Yourself in a court case (~including filing an aPpearance or fee waiver)~ or to a1'P1Y for free legal hel1', go to
~   wwwillinoislegalaid.org. You can also ask your local circuit clerk's office for a fee waiver application.
N   COURT DATE: Your court date will be sent to your e-File email account or the email address you provided to
~   the clerk's office. You can also call or email the clerk's office to request your next court date. You will need to
w   provide your case number OR, if unknown, the name of the Plaintiff or Defendant. For criminal case types, you
o   will also need to provide the Defendant's birthdate.
    REMOTE APPEARANCE: You may be able to attend this court date by phone or video conference.
    This is called a"Remote Appearance". Call the Circuit Clerk at (312) 603-5030 or visit their website at www
    cookcountyclerkofcourt.org to find out how to do this.
    Contact information for each of the Clerk's Office locations is included with this summons. The Clerk's office is
    open Mon - Fri, 8:30 am - 4:30 pm, except for court holidays.
    To the officer: (Sheriff Service)
    This summons must be returned by the officer or other person to whom it was given for service, with endorsement
    of service and fees, if any, immediately after service. If service cannot be made, this summons shall be returned so
    endorsed. This summons may not be served later than thirty (30) days after its date.
                                                                                      9/8/2021 11:36 AM IRIS Y. MARTINEZ

    4' Atty. No.: 64807                                              Witness date
       Pro Se 99500

    Name: Mark Flessner
    Atty. for (if applicable):                                                       Iris Y. Martinez, Clerk of Court
    Plaintiffs                                                       ❑ Service by Certified Mail:

    Address: 300 S. Wacker Dr. Ste. 1500                             f-1 Date of Service:
                                                                        (To be inserted by officer on copy left with employer or other person)
    City: Cillcago

    State:   IL      Zip: 60606

    TPl Pp h one: 312-648-2300

    Primary Email: mark.flessner@sfbbg.com




                           Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
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                                                              Page 2 of 3
               Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 4 of 44 PageID #:14



                            GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

     CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
     appropriate division, district or department to request your next court date. Email your case number, or, if you do
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V    not have your case number, email the Plaintiff or Defendant's name for civil case types, or the Defendant's name
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      DOMESTIC RELATIONS/CHILD SUPPORT                            Gen. Info:   (708) 865-6040
                  DIVISION                                                  DISTRICT 5 - BRIDGEVIEW
     Court date EMAIL: DRCourtDate@cookcountycourt.com            Court date EMAIL: D5CourtDate@cookcountycourt.com
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                       ChildSupCourtDate@cookcountycourt.com
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     Gen. Info:   (312) 603-6300                                               D I STRI CT 6- MARICFIAIVI

                  DOMESTIC VIOLENCE                               Court date EMAIL: D6CourtDate@cookcountycourt.com
     Court date EMAIL: DVCourtDate@cookcountycourt.com
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     Gen. Info:   (312) 325-9500

                        LAW DIVISION
     Court date EMAIL: LawCourtDate@cookcountycourt.com
     Gen. Info:   (312) 603-5426

                    PROBATE DIVISION
     Court date EMAIL: ProbCourtDate@cookcountycourt.com
     Gen. Info:   (312) 603-6441




                          Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
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                     Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 5 of 44 PageID #:15
      I                                                              12-Person Jury
      Civil Action Cover Sheet - Case Initiation                                          (12/01/20) CCL 0520

                        IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                               COUNTY DEPARTMENT, LAW DNISION

      JORDAN PENLAND, KARL GERNER, EDWARD R. BURKE, AND PAUL C. BURKE,
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~     CHICAGO PARK DISTRICT, SOLDIER FIELD, AND ASM GLOBAL,                                     IM
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N     A Civil Action Cover Sheet - Case Initiation shall be filed with the
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      is for administrative purposes only and cannot be introdttced into                               7/6/2021 2:35 PM
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0     evidence. Please check the box in front of the appropriate case
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      rype which best characterizes your action. Only one (1) case rype
U.    may be checked with this cover sheet.                                                           CIRCUIT CLERK
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      PERSONAL INJURY/WRONGFUL DEATH
      CASE TYPES:                                                                                             (Fll.E sIAMI')
         ❑ 027 Motor Uehicle
                                                                              COMMERCIAL LITIGATION
         ❑ 040 Medical Malpractice
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         ❑ 047 Asbestos
                                                                                   ❑ 002 Breach of Contract                         `" j
         ❑ 048 Dram Shop
                                                                                   ❑ 070 Professional Malpractice                   s ,~
         ❑ 049 Product Liabiliry
                                                                                         (other than legal or medical)              * "t
         ❑ 051 Construction Injuries
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               (including Structural Work Act, Road
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               Construction Injuries Act and negligence)
                                                                                   ❑ 073 Breach of Warranty
         ❑ 052 Railroad/FELA
                                                                                   ® 074 Statutory Action                           ~a
         ❑ 053 Pediatric Lead Exposure
                                                                                         (Please specify below.**)
         ❑ 061 Other Personal Injury/Wrongful Death
                                                                                   ❑ 075 Other Commercial Litigation
         ❑ 063 Intentional Tort
                                                                                         (Please specify below.**)
         ❑ 064 Miscellaneous Statutory Action
                                                                                   ❑ 076 Retaliatory Discharge
               (Please Specify Below**)
         ❑ 065 Premises Liability
                                                                              OTHER ACTIONS
         ❑ 078 Fen-phen/Redux Litigation
         ❑ 199 Silicone Implant                                               CASE TYPES:
                                                                                 ❑ 062 Properry Damage
      TAX & MISCELLANEOUS REMEDIES                                               ❑ 066 Legal Malpractice
      CASE TYPES:                                                                ❑ 077 Libel/Slander
         ❑ 007 Confessions of judgment                                           ❑ 079 Petition for Qualified Orders
         ❑ 008 Replevin                                                          ❑ 084 Petition to Issue Subpoena
           ❑ 009 Tax                                                             ❑ 100 Petition for Discovery
           ❑   015   Condemnation                                             *+ Complaint for relief under the Illinois Human Rights Act
           ❑   017   Detinue
           ❑   029   Unemployment Compensation
           ❑   031   Foreign Transcript                                       Primary Email: mark.flessner@sfbbg.com
           ❑ 036 Administrative Review Action
           ❑ 085 Petition to Register Foreign Judgment                        Secondary Email:
           ❑ 099 All Other Extraordinary Remedies
      By   Mark A. Flessner                                                   Tertiary Email:
               (Attorney)                               (Pro Se)

      Pro Se Only: ❑ I have read and agree to the terms of the Clerk's O ice Electronic Notice Policy and choose to opt in to electronic riotice
      form the Clerk's Office for this case at this email address:

                 IRIS Y. MARTINEZ, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
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        Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 6 of 44 PageID #:16
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                                      IN THE CIRCUIT COURT
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        JORDAN PENLAND, KARL GERNER,
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N       EDWARD R. BURKE, AND PAUL C.                                      COMPLAINT
        BURKE,
                                                                         Judge
                  Plaintiffs,
                                                                       Case No?021L006842
            vs.

        CHICAGO PARK DISTRICT, SOLDIER
        FIELD, AND ASM GLOBAL,                                       (Jury Trial Demanded)

                  Defendants.                                                                     ~..,
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              Plaintiffs Jordan Penland, Karl Gerner, Edward R. Burke, and Paul C. Burke, by an(f

       through their counsel of record, Mark A. Flessner of SCHOENBERG FINKEL BEEDERMAN BBLI~a

       GLAZER LLC, complain and allege against Defendants Chicago Park District, Soldier Field, and

       ASM Global as follows:

                                              INTRODUCTION

              Chicago Park District, Soldier Field, and its management company violated the Illinois

       Human Rights Act by denying Lesbian Gay Bisexual Transgender ("LGBT") patrons such as

       U.S. Navy Lt. Commander Jordan Penland, his husband and the other Plaintiffs the full and

       equal enjoyment of Soldier Field during the 2019 CONCACAF Gold Cup Final on July 7, 2019.

       On more than two dozen occasions during this international soccer match, LGBT fans like Lt.

       Commander Penland and the other Plaintiffs were repeatedly subjected to thunderous chants by

       supporters of Mexico's national team of a homophobic slur—"ieeeh puto!," which is a vulgar

       term for a male prostitute (the "Discriminatory Chant").

              The Illinois Department of Human Rights conducted an investigation and correctly

       determined that, just as Black individuals at a public sporting event should not be subjected to
       Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 7 of 44 PageID #:17




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o     repeated chants of the N-word, LGBT patrons like Lt. Commander Penland and the other
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M     Field. The Chicago Park District, Soldier Field, and its management company discriminated
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      protect LGBT patrons from mass anti-gay misconduct by the overwhelming majority of Mexican
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J     team supporters at the match.                             .


                Worse, by delegating key responsibilities to an organization with a sordid history of

      discrimination and corruption, the Chicago Park District, Soldier Field, and its management

      company abdicated their legal responsibility to control the crowd and breached their foremost

      legal duty: to protect the safety of all patrons at Soldier Field.

                As a result, the Illinois Department of Human Rights ("IDHR") found substantial

      evidence that the Chicago Park District, Soldier Field, and its management company violated the

      Illinois Human Rights Act ("Human Rights Act," "IHRA," or "Act" ) by denying LGBT patrons

      the full and equal enjoyment of Soldier Field during the 2019 Gold Cup Final. This lawsuit

      seeks to enforce the Illinois Human Rights Act to establish the principle that stadiums and other

      public accommod"ations in Illinois have a legal duty to protect LGBT patrons from being

      subjected to anti-gay slurs during sports events held at public facilities in Illinois.

                                                                     PARTIES

                1.         Plaintiff Jordan T. Penland ("Lt. Commander Penland" or "LCDR Penland") is a

      Lieutenant Commander in the United States Navy and is currently stationed by order in Cairo,

      Egypt. LCDR Penland resides in Seattle, Washington.

                2.         Plaintiff Karl E. Gerner ("Gerner") resides in Seattle, Washington. Gerner is

      married to Lt. Commander Penland
 Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 8 of 44 PageID #:18




       3.      Plaintiff Edward R. Burke ("Edward Burke") resides in Boise, Idaho.

       4.      Plaintiff Paul C. Burke ("Paul Burke") resides in Salt Lake City, Utah.

        5.     Defendant Chicago Park District ("Park District" or "CPD") is a body politic and

corporate that, pursuant to Illinois law, may sue and be sued, contract and be eontracted with,

and acquire and hold real property necessary for its corporate purposes.

       6.      Defendant Soldier Field is a stadium owned by the Chicago Park District.

       7.      Defendant ASM Global is a global facility management and venue services

company that operates and manages Soldier Field pursuant to a contract between the Chicago

Park District and SMG, a predecessor of ASM Global. ASM Global has its headquarters in Los

Angeles, California.

                                 JURISDICTION AND VENUE

       8.      This Court possesses jurisdiction over this action arising from Section 10-

102(A)(1) of the Human Rights Act, which provides that "An aggrieved party may commence a

civil action in an appropriate Circuit Court."

       9.      Venue for this action in this Court is proper under Sections 8-111(A)(1) and 10-

102(A)(1) of the Human Rights Act.

                                  GENERAL ALLEGATIONS

       10.     On July 7, 2019, Soldier Field hosted the 2019 CONCACAF Gold Cup Final

("Gold Cup Final"), an international soccer match between the United States and Mexico.

       11.     The Gold Cup Final was marred by mass homophobic misconduct by attendees of

the match.




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        Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 9 of 44 PageID #:19




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0              12.    Supporters of Mexico's national team engaged in more than two dozen mass
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N      chants of a homophobic slur--" i eeeh puto!," which is a vulgar term for a male prostitute (the
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c`')   "Discriminatory Chant"), during the Gold Cup Final.
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0             13.     Approximately 62,493 fans attended the Gold Cup Final at Soldier Field on July
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       7, 2019.
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J             14.     Fans of Mexico's national team dominated the crowd at the Gold Cup Final at
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       Soldier Field on July 7, 2019.

              15.     More than 80 percent of the fans in attendance at Soldier Field supported Mexico

       and engaged in anti-gay misconduct that was not addressed or stopped by the Chicago Park

       District, Soldier Field, or its management company.



       History of the Discriminatory Chant

              16.     The Discriminatory Chant has been a scourge of international soccer during the

       last decade.

              17.     The Discriminatory Chant is homophobic.

              18.     The International Court of Arbitration for Sport has determined that the

       Discriminatory Chant is homophobic.

              19.     Over the last decade, Federation Internationale de Football Association "(FIFA"),

       the international governing body for soccer, has repeatedly fined and sanctioned Mexico's

       national soccer federation, because Mexico's fans have frequently participated in the

       Discriminatory Chant during matches when Mexico's opponent is taking a goal-kick.

              20.     The Discriminatory Chant undermines the dignity of LGBT fans and endangers

       the safety of all fans at a soccer match.
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     Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 10 of 44 PageID #:20




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               21.   The Discriminatory Chant also has an established record of being a trigger for fan
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N    misconduct and violence.
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~              22.   For example, on October 10, 2015, Plaintiffs Edward Burke and Paul Burke were
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N    assaulted at the Rose Bowl during the CONCACAF Final between the United States and Mexico
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     after the Burkes objected to the use of the Discriminatory Chant by neighboring fans in the
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               23.   CONCACAF apologized to the Burkes for the 2015 incident at the Rose Bowl,

     but CONCACAF failed to implement and enforce its own rules at subsequent events to stop

     subsequent occurrences of the Discriminatory Chant.

               24.   Plaintiffs Karl Gerner and Paul Burke attended matches during the 2017 Gold

     Cup at which neither CONCACAF nor responsible officials at stadiums in San Diego and

     Pasadena, California failed to stop the Discriminatory Chant.

               25.   During the 2019 Gold Cup, the Discriminatory Chant occurred at each Mexico

     match prior to the Gold Cup Final. Neither CONCACAF nor the responsible stadium officials

     implemented the Three-Step Match Protocol at any match leading up to the Gold Cup Final, even

     though the Discriminatory Chant occurred at every Mexico match during the tournament.



     The Management Contract

               26.   The management contract between the Chicago Park District and ASM Global

     ("Management Contract") provides that "[ASM Global] shall be responsible for security, crowd

     management, and medical services at the Sports Facilities [including Soldier Field] and for the

     customers, employees, visitors, and users of the Sports Facilities [including Soldier Field] 24

     hours a day, seven (7) days a week."
     Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 11 of 44 PageID #:21




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            27.     The Management Contract requires ASM Global to comply with applicable
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N    federal and state laws, including the Illinois Human Rights Act.

            28.     Both the Human Rights Act and the Management Contract require Soldier Field

     and its management company to provide LGBT fans with full, equal, and safe enjoyment of any

     event held at Soldier Field, including the Gold Cup Final.



     Soldier Field's Management Company Contracted with CONCACAF

            29.           Soldier Field and its management company entered into a contract either

     directly with CONCACAF or through its marketing agent for the Gold Cup Final to be hosted by

     Soldier Field on July 7, 2019 (the "Event Contract").

            30.           Soldier Field's management company entered into the Event Contract with

     CONCACAF even though it was aware of CONCACAF's recent history of corruption, which

     included criminal charges filed by the U.S. Deparhnent of Justice against several CONCACAF

     officials in 2015.

            31.           Soldier Field's management company entered into the Event Contract with

     CONCACAF even though it was aware that numerous CONCACAF-sponsored events have been

     marred by the Discriminatory Chant during the previous five years.

            32.           Soldier Field's management company entered into the Event Contract with

     CONCACAF even though ASM Global was aware that the Discriminatory Chant had occurred

     without being addressed by CONCACAF during the 2015 and 2017 Gold Cups.

            33.           Soldier Field's management company entered into the Event Contract with

     CONCACAF even though ASM Global was aware that CONCACAF had never before enforced

     its own rules prohibiting the Discriminatory Chant.
       Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 12 of 44 PageID #:22




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              34.        Soldier Field's management company entered into the Event Contract despite
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N      knowing that CONCACAF had never implemented CONCACAF's own match protocol for

       addressing discriminatory events (the "Match Protocol" or "Three-Step Match Protocol").

              35.        When promptly and fully implemented, the Three-Step Match Protocol has

       been proven effective at preventing, curbing, and stopping the Discriminatory Chant.

              36.        Most recently, the Three-Step Match Protocol was implemented during the

       Nations League Final between the United States and Mexico at Empower Field in Denver,

       Colorado on June 6, 2021. After the match was temporarily suspended in accordance with the

       Three-Step Match Protocol, the Discriminatory Chant did not occur again.

              37.        When responsible stadium officials are committed to promptly and

       consistently implementing the Three-Step Match Protocol, the Discriminatory Chant has been

       prevented and/or stopped.

              38.        Unfortunately, responsible officials during the 2019 Gold Cup Final failed to

       implement the Three-Step Match Protocol in response to persistent Discriminatory Chants.



       Plaintiffs Warn Defendants About the Discriminatory Chant

              39.        On July 3, 2019, four days before the Gold Cup Final, Paul C. Burke sent an

       electronic mail message to Soldier Field's management seeking assurances that responsible

       officials at Soldier Field intended to comply with the Illinois Human Rights Act by providing

       LGBT patrons with full and equal enjoyment of the event.

              40.        On July 3, 2019, Paul Burke wrote the following email addressed to Soldier

       Field's Assistant General Manager, Kevin Walsh (kwalsh(a-)soldierfield.net):
     Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 13 of 44 PageID #:23




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                I hold tickets and have plans to attend the Gold Cup Final match this
N               coming Sunday at Soldier Field. I am writing to seek assurances for my
N               safety and dignity at this event. I also seek written assurances that LGBT
a               fans will be afforded full and equal enjoyment of the everit in compliance
M               with the Illinois Human Rights Act ("Human Rights Act" or "Act").

                The Illinois' .Human Rights Act states that "It is a civil rights violation for
                any person on the basis of unlawful discrimination to: (A) [d]eny or refuse
                to another the full and equal enjoyment of the facilities, goods, and
                services of any public place of accommodation." According to the Human
                Rights Act, "`Unlawful discrimination' means discrimination against a
                person because of his or her race, color, religion, national origin, ancestry,
                age, sex, marital status, order of protection status, disability, military
                status, sexual orientation, pregnancy, or unfavorable discharge from
                military service." The Act's definition of a"Place of public
                accommodation" includes every "motion picture house, theater, concert
                hall, stadium, or other place of exhibition or entertainment; [and ...]
                auditorium, convention center, lecture hall or other place of public
                gathering."

                Soldier Field is a place of accommodation within the meaning of the Act,
                which offers express protection to LGBT citizens against unlawful
                discrimination on the basis of sexual orientation. It follows that LGBT
                fans are legally entitled to full, equal, and safe enjoyment of any event
                held at Soldier Field.

                It is foreseeable and should be expected that tens of thousands of fans will
                attempt to participate in homophobic chants at the Gold Cup Final on
                Sunday at Soldier Field. LGBT fans will not have full, equal, and safe
                enjoyment of the Gold Cup Final if only LGBT persons are subjected to
                thunderous chants by thousands of people of a slur based on sexual
                orientation.

                The CONCACAF Gold Cup ("Gold Cup") is sponsored by the
                Confederation of North, Central American and Caribbean Association
                Football ("CONCACAF"), which unfortunately has both an extensive and
                recent history of sponsoring matches that have been marred by large-scale
                fan misconduct. Over the last decade, the fans of several teams--most
                notably, the national team of Mexico--have engaged in mass chants of a
                homophobic slur--" ieeeh puto!," which is a vulgar term for a male
                prostitute--that has been predictably screamed when an opponent's
                goalkeeper prepares to take a goal-kick.

                The Puto chant has been a scourge to international soccer over the last
                decade, but it has been prevented and stopped at other events through the
     Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 14 of 44 PageID #:24




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o               use of best practices. For example, during the 2017 Confederations Cup
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                and the 2018 World Cup, the Federation Internationale de Football
N               Association ("FiFA") successfullv deterred fans from engaging in such
a               misconduct. In advance of these tournaments, FIFA conducted
LO              educational campaigns that specifically addressed the Puto chant;
N               announced a match protocol for stadium announcements and match
N               suspensions in the event of discriminatory chants; and advised fans that
                their misconduct could cause their team to suffer from sanctions or even
                disqualification. FIFA recently issued a circular to its members that
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~               formally adopted these procedures for matches during qualifying
~               tournaments for the 2022 World Cup.

                Unfortunately, during the 2019 Gold Cup, CONCACAF has taken none of
                the steps that have been proven effective to combat large-scale
                homophobic chants by fans. CONCACAF has not contacted ticket buyers
                or conducted any public education to specifically condemn the Puto
                chant. During matches thus far during the tournament, CONCACAF has
                failed to implement its own match protocol for racist and discriminatoiy
                events to address pervasive fan misconduct. Homophobic chants have
                repeatedly thundered through stadiums in Pasadena, California; Denver,
                Colorado; Charlotte, North Carolina; Houston, Texas; and Phoenix,
                Arizona during the 2019 Gold Cup tournament without response from
                CONCACAF, its match commissioners, or any stadium
                officials. CONCACAF has also failed during the 2019 Gold Cup
                competition to sanction any team whose fans have engaged in widespread
                misconduct. As a result, CONCACAF has failed to align the competitive
                interests of fans to encourage compliance with applicable codes of fan
                conduct.
                Given CONCACAF's persistent failures to prevent and stop homophobic
                and discriminatory fan misconduct both during the 2019 Gold Cup and at
                CONCACAF-sponsored events over the last decade, the Chicago Park
                District ("CPD") and Soldier Field have reason to review their contractual
                agreements with the promoters and sponsors of the Gold Cup. I encourage
                you to conduct due diligence by reviewing telecasts from recent matches
                involving Mexico during the 2019 Gold Cup, including last night's
                semifinal match against Haiti.

                I presume that CPD and Soldier Field would not proceed to host an event
                if it was reasonably expected that tens of thousands of attendees would
                repeatedly and uncontrollably engage in racist behavior. It is also hard to
                imagine that CPD and Soldier Field would allow chants of a racial slur to
                echo through their facilities without any sanction. Gay slurs are no less
                worthy of prevention and condemnation. Anti-gay behavior should be
                addressed with the same seriousness and severity as racist misconduct.
         Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 15 of 44 PageID #:25




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                        Assuming that Soldier Field moves forward to host the Gold Cup Final on
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                        Sunday; I hope that Soldier Field, the Chicago Park District, and the City
N                       of Chicagc will make all necessary nrenarations to fullv control the crowd
~    -                  and to promptly stop homophobic tan misconduct, presumably by
LO                      implementing internationally recognized match protocols by making
N                       public announcements and suspending play in order to gain control over
N                       fan conduct. If CPD and Soldier Field cannot enforce the facility's Code
                        of Conduct and protect all fans—including LGBT fans—from abuse
¢                       during the Gold Cup Final, then Sunday's match should either be
~                       cancelled, played without spectators, or postponed until all fans can have
~                       full, equal, and safe access to the match.

                        Please provide me with written assurances that CPD and Soldier Field will
                        comply with the Illinois Human Rights Act for the Gold Cup Final. I look
                        forward to receiving prompt written assurances that I and all LGBT fans
                        will receive full, equal, and safe enjoyment of Sunday's match.

                        Thank you for your prompt attention to these important matters.

                        Respectfully,
                        Paul C. Burke

                41.         Plaintiff Paul Burke sent a similar warning on July 3, 2019 to CPD General

         Counsel Timothy M. King through CPD's online portal at CPD's website.

                42.         On information and belief, Soldier Field and its management company

         received the email sent by Paul Burke on July 3. 2019 to Kevin Walsh.

                43.         Despite Paul Burke's express request, Soldier Field did not respond to Paul

         Burke's July 3, 2019 email, nor did Soldier Field furnish any assurance that it would comply

         with Illinois Human Rights Act during the Gold Cup Final.

                44.         Despite Paul Burke's express request, the Chicago Park District did not

         respond to Paul Burke's July 3, 2019 email, nor did the Park District furnish any assurance that it

         would comply with Illinois Human Rights Act during the Gold Cup Final.




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     Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 16 of 44 PageID #:26




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o0   Plaintiffs Attend the Gold Cup Final and Complain About the Discriminatory Chant
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N             45.       Plaintiffs acquired and used tickets in Section 246, Row 2, Seats 3 through 6

     to attend the Gold Cup Final at Soldier Field on July 7, 2019.

              46.       Plaintiffs wore official U.S. National Team replica uniforms celebrating Pride

     Month to the Gold Cup Final. This Pride clothing, which featured rainbow numbering on the

     back of each Plaintiff, enabled other attendees as well as stadium officials to identify and

     associate each Plaintiff with the LGBT community.

              47.       Because Plaintiffs were sitting in the second row and often stood to cheer the

     United States' team, hundreds of Mexico fans sitting behind Plaintiffs in Section 246 and the

     adjacent Section 249 could see Plaintiffs wearing rainbow colored numbers on their backs and

     could therefore identify and associate them with the LGBT community.

              48.        This Pride clothing also enabled officials at Soldier Field with whom

     Plaintiffs interacted before, during, and after the game to identify and associate them with the

     LGBT community.

              49.       Although the timing of the Discriminatory Chant was connected to events on

     the field, some fans near Plaintiffs took note of Plaintiff's Pride clothing and appeared to take

     pleasure in directing their participation in the Discriminatory Chant towards Plaintiffs.

              50.       The first occurrence of the discriminatory chant occurred shortly after the

     match began at 8:00 PM on July 7, 2019. Defendants failed to respond to this discriminatory

     event.

              51.       After a second occurrence of the Discriminatory Chant, Plaintiffs sought to

     report the misconduct by text to the security number published online in the Soldier Field facility

     guide.
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Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 17 of 44 PageID #:27




        52.       In response to their plea for assistance to Soldier Field's published security

number, Plaintiffs received the following responses, which included a Double Bird Salute:

                                   8:36                            ..Wr =

                               ~
                                               (312) 909-4357>




                                                               Read 8:35 PM

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        53.       On information and belief, Soldier Field's management company has changed

the security number but failed to update the stadium's online guide. This gross negligence

endangered the digriity and safety of LGBT fans, including Plaintiffs, during an event marred by

repeated mass homophobic misconduct by thousands of Mexico fans.

        54.       During the halftime of the match, Plaintiffs also complained about the

Discriminatory Chant to stadium officials and a security guard stationed on the concourse above

their seats.



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     Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 18 of 44 PageID #:28




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     Defendants Failed to Address or Ston the Discriminatory Chant During the First Half

            55.        The Discriminatory Chant occurred at or about the 0:33 minutes/seconds mark

     of the Gold Cup Final match.

            56.        The Three-Step Match Protocol was not implemented after the Discriminatory

     Chant occurred at approximately the 0:33 minutes/seconds mark of the Gold Cup Final match.

            57.        No action was taken by any responsible official at Soldier Field to stop the

     Discriminatory Chant after it occurred approximately at the 0:33 minutes/seconds mark of the

     Gold Cup Final match.

            58.        No action was taken by any responsible official of the Chicago Park District

     to stop the Discriminatory Chant after it occurred approximately at the 0:33 minutes/seconds

     mark of the Gold Cup Final match.

            59.        No action was taken by any responsible official of ASM Global to stop the

     Discriminatory Chant after it occurred approximately at the 0:33 minutes/seconds mark of the

     Gold Cup Final match.

            60.        The Discriminatory Chant occurred at or about the 4:38 minutes/seconds mark

     of the Gold Cup Final match.

            61.        The Three-Step Match Protocol was not implemented after the Discriminatory

     Chant occurred at approximately the 4:38 minutes/seconds mark of the Gold Cup Final match.

            62.        No action was taken by any responsible official at Soldier Field to stop the

     Discriminatory Chant after it occurred approximately at the 4:38 minutes/seconds mark of the

     Gold Cup Final match.
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     Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 19 of 44 PageID #:29




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            63.        No action was taken by any responsible official of the Chicago Park District
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N    to stop the Discriminatory Chant after it occurred approximately at the 4:3 8 minutes/seconds

     mark of the Gold Cup Final match.

            64.        No action was taken by any responsible official of ASM Global to stop the

     Discriminatory Chant after it occurred approximately at the 4:38 minutes/seconds mark of the

     Gold Cup Final match.

            65.        The Discriminatory Chant occurred at or about the 5:54 minutes/seconds mark

     of the Gold Cup Final match.

            66.        The Three-Step Match Protocol was not implemented after the Discriminatory

     Chant occurred at approximately the 5:54 minutes/seconds inark of the Gold Cup Final match.

            67.        No action was taken by any responsible official at Soldier Field to stop the

     Discriminatory Chant after it occurred approximately at the 5:54 minutes/seconds mark of the

     Gold Cup Final match.

            68.        No action was taken by any responsible official of the Chicago Park District

     to stop the Discriminatory Chant after it occurred approximately at the 5:54 minutes/seconds

     mark of the Gold Cup Final match.

            69.        The Discriminatory Chant occurred at or about the 8:00 minutes/seconds mark

     of the Gold Cup Final match.

            70.        The Three-Step Match Protocol was not implemented after the Discriminatory

     Chant occurred at approximately the 8:00 minutes/seconds mark of the Gold Cup Final match.

            71.        No action was taken by any responsible official at Soldier Field to stop the

     Discriminatory Chant after it occurred approximately at the 8:00 minutes/seconds mark of the

     Gold Cup Final match.
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 Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 20 of 44 PageID #:30




       72.        No action was taken by any responsible official of the Chicago Park District

to stop the Discriminatory Chant after it occurred approximately at the 8:00 minutes/seconds

mark of the Gold Cup Final match.

       73.        No action was taken by any responsible official of ASM Global to stop the

Discriminatory Chant after it occurred approximately at the 8:00 minutes/seconds mark of the

Gold Cup Final match.

       74.        The Discriminatory Chant occurred at or about the 10:42 minutes/seconds

mark of the Gold Cup Final match.

       75.        The Three-Step Match Protocol was not implemented after the Discriminatory

Chant occurred at approximately the 10:42 minutes/seconds mark of the Gold Cup Final match.

       76.        No action was taken by any responsible official at Soldier Field to stop the

Discriminatory Chant after it occurred approximately at the 10:42 minutes/seconds mark of the

Gold Cup Final match.

       77.        No action was taken by any responsible official of the Chicago Park District

to stop the Discriminatory Chant after it occurred approximately at the'10:42 minutes/seconds

mark of the Gold Cup Final match.

       78.        No action was taken by any responsible official of ASM Global to stop the

Discriminatory Chant after it occurred approximately at the 10:42 minutes/seconds mark of the

Gold Cup Final match

       79.        The Discriminatory Chant occurred at or about the 12:10 minutes/seconds

mark of the Gold Cup Final match.

       80.        The Three-Step Match Protocol was not implemented after the Discriminatory

Chant occurred at approximately the 12:10 minutes/seconds mark of the Gold Cup Final match.
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     Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 21 of 44 PageID #:31




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            81.        No action was taken by any responsible official at Soldier Field to stop the
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N    Discriminatory Chant after it occurred approximately at the 10:12 minutes/seconds mark of the
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~    Gold Cup Final match.
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N           82.        No action was taken by any responsible official of the Chicago Park District
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     to stop the Discriminatory Chant after it occurred approximately at the 10:12 minutes/seconds
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J_   mark of the Gold Cup Final match.
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            83.        No action was taken by any responsible official of ASM Global to stop the

     Discriminatory Chant after it occurred approximately at the 12:10 minutes/seconds mark of the

     Gold Cup Final match

            84.        The Discriminatory Chant occurred at or about the 14:10 minutes/seconds

     mark of the Gold Cup Final match.

            85.        The Three-Step Match Protocol was not implemented after the Discriminatory

     Chant occurred at approximately the 14:10 minutes/seconds mark of the Gold Cup Final match.

            86.        No action was taken by any responsible official at Soldier Field to stop the

     Discriminatory Chant after it occurred approximately at the 14:10 minutes/seconds mark of the

     Gold Cup Final match.

            87.        No action was taken by any responsible official of the Chicago Park District

     to stop the Discriminatory Chant after it occurred approximately at the 14:10 minutes/seconds

     mark of the Gold Cup Final match.

            88.        No action was taken by any responsible official of ASM Global to stop the

     Discriminatory Chant after it occurred approximately at the 14:10 minutes/seconds mark of the

     Gold Cup Final match.


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     Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 22 of 44 PageID #:32




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            89.        The Discriminatory Chant occurred at or about the 14:50 minutes/seconds
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N    mark of the Gold Cup Final match.

            90.        The Three-Step Match Protocol was not implemented after the Discriminatory

     Chant occurred at approximately the 14:50 minutes/seconds mark of the Gold Cup Final match.

            91.        No action was taken by any responsible official at Soldier Field to stop the

     Discriminatory Chant after it occurred approximately at the 14:50 minutes/seconds mark of the

     Gold Cup Final match.

            92.        No action was taken by any responsible official of the Chicago Park District

     to stop the Discriminatory Chant after it occurred approximately at the 14:50 minutes/seconds

     mark of the Gold Cup Final match.

            93.        The Discriminatory Chant occurred at or about the 15:40 minutes/seconds

     mark of the Gold Cup Final match.

            94.        The Three-Step Match Protocol was not implemented after the Discriminatory

     Chant occurred at approximately the 15:40 minutes/seconds mark of the Gold Cup Final match.

            95.        No action was taken by any responsible official at Soldier Field to stop the

     Discriminatory Chant after it occurred approximately at the 15:40 minutes/seconds mark of the

     Gold Cup Final match.

            96.        No action was taken by any responsible official of the Chicago Park District

     to stop the Discriminatory Chant after it occurred approximately at the 15:40 minutes/seconds

     mark of the Gold Cup Final match.

            97.        No action was taken by any responsible official of ASM Global to stop the

     Discriminatory Chant after it occurred approximately at the 15:40 minutes/seconds mark of the

     Gold Cup Final match.
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      Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 23 of 44 PageID #:33




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             98.        The Discriminatory Chant occurred at or about the 27:40 minutes/seconds
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~     mark of the Gold Cup Final match.

             99.        The Three-Step Match Protocol was not implemented after the Discriminatory

      Chant occurred at approximately the 27:40 minutes/seconds mark of the Gold Cup Final match.

             100.       No action was taken by any responsible official at Soldier Field to stop the

      Discriminatory Chant after it occurred approximately at the 27:40 minutes/seconds mark of the

      Gold Cup Final match.

             101.       No action was taken by any responsible official of the Chicago Park District

      to stop the Discriminatory Chant after it occurred approximately at the 27:40 minutes/seconds

      mark of the Gold Cup Final match.

             102.       The Discriminatory Chant occurred at or about the 29:29 minutes/seconds

      mark of the Gold Cup Final match.

             103.       The Three-Step Match Protocol was not implemented after the Discriminatory

      Chant occurred at approximately the 29:29 minutes/seconds mark of the Gold Cup Final match.

             104.       No action was taken by any responsible official at Soldier Field to stop the

      Discriminatory Chant after it occurred approximately at the 29:29 minutes/seconds mark of the

      Gold Cup Final match.

             105.       No action was taken by any responsible official of the Chicago Park District

      to stop the Discriminatory Chant after it occurred approximately at the 29:29 minutes/seconds

      mark of the Gold Cup Final match.

             106.       The Discriminatory Chant occurred at or about the 31:51 minutes/seconds

      mark of the Gold Cup Final match.



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     Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 24 of 44 PageID #:34




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            107.       The Three-Step Match Protocol was not implemented after the Discriminatory
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N    Chant occurred at approximately the 31:51 minutes/seconds mark of the Gold Cup Final match.
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LO          108.       No action was taken by any responsible official at Soldier Field to stop the
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a    Discriminatory Chant after it occurred approximately at the 31:51 minutes/seconds mark of the
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     Gold Cup Final match.
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W           109.       No action was taken by any responsible official of the Chicago Park District
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     to stop the Discriminatory Chant after it occurred approximately at the 31:51 minutes/seconds

     mark of the Gold Cup Final match.

            110.       The Discriminatory Chant occurred at or about the 36:25 minutes/seconds

     mark of the Gold Cup Final match.

            111.       The Three-Step Match Protocol was not implemented after the Discriminatory

     Chant occurred at approximately the 36:25 minutes/seconds mark of the Gold Cup Final match.

            112.       No action was taken by any responsible official at Soldier Field to stop the

     Discriminatory Chant after it occurred approximately at the 36:35 minutes/seconds mark of the

     Gold Cup Final match.

            113.       No action was taken by any responsible official of the Chicago Park District

     to stop the Discriminatory Chant after it occurred approximately at the 36:25 minutes/seconds

     mark of the Gold Cup Final match.

            114.       The Discriminatory Chant occurred at or about the 36:34 minutes/seconds

     mark of the Gold Cup Final match.

            115.       The Three-Step Match Protocol was not implemented after the Discriminatory

     Chant occurred at approximately the 36:34 minutes/seconds mark of the Gold Cup Final match.



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     Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 25 of 44 PageID #:35




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            116.       No action was taken by any responsible official at Soldier Field to stop the
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N    Discriminatory Chant after it occurred approximately at the 36:34 minutes/seconds mark of the
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LO   Gold Cup Final match.
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N           117.       No action was taken by any responsible official of the Chicago Park District
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     to stop the Discriminatory Chant after it occurred approximately at the 36:34 minutes/seconds
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J_   mark of the Gold Cup Final match.
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            118.       The Discriminatory Chant occurred at or about the 38:10 minutes/seconds

     mark of the Gold Cup Final match.

            119.       The Three-Step Match Protocol was not implemented after the Discriminatory

     Chant occurred at approximately the 38:10 minutes/seconds mark of the Gold Cup Final match.

            120.       No action was taken by any responsible official at Soldier Field to stop the

     Discriminatory Chant after it occurred approximately at the 38:10 minutes/seconds mark of the

     Gold Cup Final match.

            121.       No action was taken by any responsible official of the Chicago Park District

     to stop the Discriminatory Chant after it occurred approximately at the 38:10 minutes/seconds

     mark of the Gold Cup Final match.

            122.       The Discriminatory Chant occurred at or about the 41:52 minutes/seconds

     mark of the Gold Cup Final match.

            123.       The Three-Step Match Protocol was not implemented after the Discriminatory

     Chant occurred at approximately the 41:52 minutes/seconds mark of the Gold Cup Final match.

            124.       No action was taken by any responsible official at Soldier Field to stop the

     Discriminatory Chant after it occurred approximately at the 41:52 minutes/seconds mark of the

     Gold Cup Final match.
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      Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 26 of 44 PageID #:36




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             125.        No action was taken by any responsible official of the Chicago Park District
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N     to stop the Discriminatory Chant after it occurred approximately at the 41:52 minutes/seconds
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d
LO
M     mark of the Gold Cup Final match.
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N            126.        The Discriminatory Chant occurred at or about the 43:40 minutes/seconds
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W     mark of the Gold Cup Final match.
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 ❑W          127.        The Three-Step Match Protocol was not implemented after the Discriminatory
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      Chant occurred at approximately the 43:40 minutes/seconds mark of the Gold Cup Final match.

             128.        No action was taken by any responsible official at Soldier Field to stop the

      Discriminatory Chant after it occurred approxirnately at the 43:40 minutes/seconds mark of the

      Gold Cup Final match.

             129.        No action was taken by any responsible official of the Chicago Park District

      to stop the Discriminatory Chant after it occurred approximately at the 43:40 minutes/seconds

      mark of the Gold Cup Final match.



      Defendants Failed to Address or Stop the Discriminatory Chant During the Second Half

             130.        Even though the Discriminatory Chant had occurred at least 14 times during

      the first half of the Gold Cup Final, no action was taken by any responsible official during

      halftime to address or prevent the Discriminatory Chant from occurring during the second half.

             131.        The Discriminatory Chant occurred at or about the 46:00 minutes/seconds

      mark of the Gold Cup Final match.

             132.        The Three-Step Match Protocol was not implemented after the Discriminatory

      Chant occurred at approximately the 46:00 minutes/seconds mark of the Gold Cup Final match.


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     Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 27 of 44 PageID #:37




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            133.       No action was taken by any responsible official at Soldier Field to stop the
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N    Discriminatory Chant after it occurred approximately at the 46:00 minutes/seconds mark of the

     Gold Cup Final match.

            134.       No action was taken by any responsible official of the Chicago Park District

     to stop the Discriminatory Chant after it occurred approximately at the 46:00 minutes/seconds

     mark of the Gold Cup Final match.

            135.       The Discriminatory Chant occurred at or about the 52:22 minutes/seconds

     mark of the Gold Cup Final match.

            136.       The Three-Step Match Protocol was not implemented after the Discriminatory

     Chant occurred at approximately the 52:22 minutes/seconds mark of the Gold Cup Final match.

            137.       No action was taken by any responsible official at Soldier Field to stop the

     Discriminatory Chant after it occurred approximately at the 52:22 minutes/seconds mark of the

     Gold Cup Final match.

            138.       No action was taken by any responsible official of the Chicago Park District

     to stop the Discriminatory Chant after it occurred approximately at the 52:22 minutes/seconds

     mark of the Gold Cup Final match.

            139.       The Discriminatory Chant occurred at or about the 54:40 minutes/seconds

     mark of the Gold Cup Final match.

            140.       The Three-Step Match Protocol was not implemented after the Discriminatory

     Chant occurred at approximately the 54:40 minutes/seconds mark of the Gold Cup Final match.

            141.       No action was taken by any responsible official at Soldier Field to stop the

     Discriminatory Chant after it occurred approximately at the 54:40 minutes/seconds mark of the

     Gold Cup Final match.
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     Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 28 of 44 PageID #:38




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            142.       No action was taken by any responsible official of the Chicago Park District
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N    to stop the Discriminatory Chant after it occurred approximately at the 54:40 minutes/seconds

     mark of the Gold Cup Final match.

            143.       The Discriminatory Chant occurred at or about the 54:43 minutes/seconds

     mark of the Gold Cup Final match.

            144.       The Three-Step Match Protocol was not implemented after the Discriminatory

     Chant occurred at approximately the 54:43 minutes/seconds mark of the Gold Cup Final match.

            145.       No action was taken by any responsible official at Soldier Field to stop the

     Discriminatory Chant after it occurred approximately at the 54:43 minutes/seconds mark of the

     Gold Cup Final match.

            146.       No action was taken by any responsible official of the Chicago Park District

     to stop the Discriminatory Chant after it occurred approximately at the 54:43 minutes/seconds

     mark of the Gold Cup Final match.

            147.       The Three-Step Match Protocol was not implemented after the Discriminatory

     Chant occurred at approximately the 55:58 minutes/seconds mark of the Gold Cup Final match.

            148.       No action was taken by any responsible official at Soldier Field to stop the

     Discriminatory Chant after it occurred approximately at the 55:58 minutes/seconds mark of the

     Gold Cup Final match.

            149.       No action was taken by any responsible official of the Chicago Park District

     to stop the Discriminatory Chant after it occurred approximately at the 55:58 minutes/seconds

     mark of the Gold Cup Final match.

            150.        The Discriminatory Chant occurred at or about the 57:11 minutes/seconds

     mark of the Gold Cup Final match.
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     Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 29 of 44 PageID #:39




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            151.       The Three-Step Match Protocol was not implemented after the Discriminatory
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N    Chant occurred at approximately the 57:1 lminutes/seconds mark of the Gold Cup Final match.

            152.       No action was taken by any responsible official at Soldier Field to stop the

     Discriminatory Chant after it occurred approximately at the 57:11 minutes/seconds mark of the

     Gold Cup Final match.

            153.       No action was taken by any responsible official of the Chicago Park District

     to stop the Discriminatory Chant after it occurred approximately at the 57:11 minutes/seconds

     mark of the Gold Cup Final match.

            154.       The Discriminatory Chant occurred at or about the 57:39 minutes/seconds

     mark of the Gold Cup Final match.

            155.       The Three-Step Match Protocol was not implemented after the Discriminatory

     Chant occurred at approximately the 57:39 minutes/seconds mark of the Gold Cup Final match.

            156.       No action was taken by any responsible official at Soldier Field to stop the

     Discriminatory Chant after it occurred approximately at the 57:39 minutes/seconds mark of the

     Gold Cup Final match.

            157.       No action was taken by any responsible official of the Chicago Park District

     to stop the Discriminatory Chant after it occurred approximately at the 57:39 minutes/seconds

     mark of the Gold Cup Final match.

            158.       The Discriminatory Chant occurred at or about the 58:56 minutes/seconds

     mark of the Gold Cup Final match.

            159.       The Three-Step Match Protocol was not implemented after the Discriminatory

     Chant occurred at approximately the 58:56 minutes/seconds mark of the Gold Cup Final match.


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     Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 30 of 44 PageID #:40




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            160.       No action was taken by any responsible official at Soldier Field to stop the
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N    Discriminatory Chant after it occurred approximately at the 58:56 minutes/seconds mark of the

     Gold Cup Final match.

            161.       No action was taken by any responsible official of the Chicago Park District

     to stop the Discriminatory Chant after it occurred approximately at the 58:56 minutes/seconds

     mark of the Gold Cup Final match.

            162.       The Discriminatory Chant occurred at or about the 70:30 minutes/seconds

     mark of the Gold Cup Final match.

            163.       The Three-Step Match Protocol was not implemented after the Discriminatory

     Chant occurred at approximately the 70:30 minutes/seconds mark of the Gold Cup Final match.

            164.       No action was taken by any responsible official at Soldier Field to stop the

     Discriminatory Chant after it occurred approximately at the 70:30 minutes/seconds mark of the

     Gold Cup Final match.

            165.       No action was taken by any responsible official of the Chicago Park District

     to stop the Discriminatory Chant after it occurred approximately at the 70:30 minutes/seconds

     mark of the Gold Cup Final match.

            166.       The Discriminatory Chant occurred at or about the 82:38 minutes/seconds

     mark of the Gold Cup Final match.

            167.       The Three-Step Match Protocol was not implemented after the Discriminatory

     Chant occurred at approximately the 82:38 minutes/seconds mark of the Gold Cup Final match.

            168.       No action was taken by any responsible official at Soldier Field to stop the

     Discriminatory Chant after it occurred approximately at the 82:38 minutes/seconds mark of the

     Gold Cup Final match.
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     Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 31 of 44 PageID #:41




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             169.       No action was taken by any responsible official of the Chicago Park District
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N    to stop the Discriminatory Chant after it occurred approximately at the 82:38 minutes/seconds

     mark of the Gold Cup Final match.

             170.       The Discriminatory Chant occurred at or about the 90:45 minutes/seconds

     mark of the Gold Cup Final match.

             171.       The Three-Step Match Protocol was not implemented after the Discriminatory

     Chant occurred at approximately the 90:45 minutes/seconds mark of the Gold Cup Final match.

             172.     1 No action was taken by any responsible official at Soldier Field to stop the

     Discriminatory Chant after it occurred approximately at the 90:45 minutes/seconds mark of the

     Gold Cup Final match:

             173.       No action was taken by any responsible official of the Chicago Park District

     to stop the Discriminatory Chant after it occurred approximately at the 90:45 minutes/seconds

     mark of the Gold Cup Final match.



     Summary of Discriminatory Chants during Gold Cup Final

            174.        The Discrinunatory Chant occurred at least 25 times during the Gold Cup

     Final match at Soldier Field.

            175.        The Discriminatory Chant occurred as many as 28 times during the Gold Cup

     Final at Soldier Field.

            176.        The Three-Step Match Protocol was never implemented during the Gold Cup

     Final match at Soldier Field.




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     Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 32 of 44 PageID #:42




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            177.        No action was taken at any time by any responsible official at Soldier Field to
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N    stop the Discriminatory Chant even though it occurred more than 25 times during the Gold Cup

     Final match.

            178.        No action was taken at any time by any responsible official of ASM Global to

     stop the Discriminatory Chant even though it occurred more than 25 times during the Gold Cup

     Final match.

            179.        No action was taken at any time by any responsible official of the Chicago

     Park District to stop the Discriminatory Chant even though it occurred more than 25 times during

     the Gold Cup Final match.

            180.        No responsible official at Soldier Field took any action to address or stop the

     Discriminatory Chants during the Gold Cup Final.

            181.        On information and belief, at least one representative of the Chicago Park

     District was present at Soldier Field during the Gold Cup Final.

            182.        No representative of the Chicago Park District took any action during the

     Gold Cup Final to address or stop the Discriminatory Chant during the Gold Cup Final.

            183.        The Management Contract requires ASM Global to have a least one

     representative present at every event at Soldier Field.

            184.        On information and belief, at least one representative of ASM Global was

     present at Soldier Field during the Gold Cup Fina.

            185.        No official of ASM Global present at the Gold Cup Final took any action to

     address or stop the Discriminatory Chants.

            186.        The Discriminatory Chant constitutes a violation of Soldier Field's Code of

     Conduct.
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     Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 33 of 44 PageID #:43




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             187.     Soldier Field's Code of Conduct states, in pertinent part:
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N                    "Proper behavior is expected of all guests of Soldier Field. Unruly or inconsiderate
a                    behavior will not be tolerated and may be grounds for ejection from the stadium,
M                    revocation of ticket privileges, and subject to civil action and criminal action. Such
N                    behavior,includes, but is not limited to: intoxication, profane, disruptive or abusive
N                    language or gestures, offensive or disorderly conduct, throwing objects, excessive
                     standing in the seating area, smoking anywhere in the stadium, bringing any
~                    prohibited items into the stadium, entering or attempting to enter the field level or
o                    playing field. Guests who cannot conform their conduct to these rules are not
~                    welcome to Soldier Field."

             188.     Although the Discriminatory Chant violates Soldier Field's Code of Conduct, no

     action was taken during the Gold Cup Final by Soldier Field or its management company to

     enforce the Code of Conduct against any fan who participated in the Discriminatory Chant.

             189.     On information and belief, fans have been ejected or otherwise disciplined at

     other sporting events at Soldier Field for violating the Code of Conduct by engaging in offensive

     or disorderly conduct, including the use of racial slurs.

             190.     The Discriminatory Chant also constitutes disorderly conduct in violation of

     Illinois law.

             191.     On information and belief, fans have been ejected from other sporting events at

     Soldier Field for using racial slurs and have been prosecuted for disorderly conduct.

             192.     No fan who attended the Gold Cup Final was ejected or discipled for participating

     in the homophobic chant.

             193.     No fan who attended the Gold Cup Final was charged or prosecuted for disorderly

     conduct for having participated in the Discriminatory Chant.




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     Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 34 of 44 PageID #:44




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o0   Defendants Abrosated Their Legal Duties
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N           194.        On information and belief, despite having legal and contractual duties to

     enforce the law (including the Illinois Human Rights Act) and to provide for the safety of all

     fans, the Chicago Park District, Soldier Field, and its management company surrendered control

     over Soldier Field to CONCACAF, a soccer organization with an extensive history of hosting

     events marred by homophobic misconduct.

            195.        The Chicago Park District, Soldier Field, and its management company

     surrendered control over Soldier Field's scoreboards and public address systems to CONCACAF

     during the Gold Cup Final.

            196.        Even after numerous Discriminatory Chants occurred during the Gold Cup

     Final without being addressed, the Chicago Park District, Soldier Field, and its management

     company failed to assert control over Soldier Field's scoreboards and public address systems.

            197.        Even after numerous Discriminatory Chants occurred during the Gold Cup

     Final without being addressed, the Chicago Park District, Soldier Field, and its management

     company failed to assert control over Soldier Field in order to stop discriminatory behavior from

     occurring in violation of the Illinois Human Rights Act.



     The Aftermath

            198.       The discriminatory events that occurred during the Gold Cup Final establish

     that ASM Global not only violated the Illinois Human Rights Act but also materially breached

     the Management Contract. ,




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     Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 35 of 44 PageID #:45




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00          199.        Section 19.2 (Anti-Discrimination) of the Management Contract states that
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N    "[ASM Global] shall not discriminate on the basis of ... sexual orientation with respect to ...

     providing services under this Agreement...."

            200.        Section 19.28 (Compliance) of the Management Contract provides that ASM

     Global "must comply with all federal, state, county, and municipal laws, statutes, ordinances and

     executive orders in effect now or later and whether or not they appear in this Agreement."

            201.        On information and belief, Chicago Park District, Soldier Field, and its

     management company would not allow a racial slur such as the N-word to be chanted repeatedly

     by fans at any event at Soldier Field without any remediated action.

            202.        Yet the Chicago Park District and ASM Global allowed an anti-gay slur to

     repeatedly thunder from Soldier Field during the Gold Cup Final to an international broadcast

     audience.

            203.        On information and belief, the Chicago Park District would terminate the

     Management Contract if ASM Global failed to stop mass chants of the N-word from occurring

     during a sports event at Soldier Field.

            204.        ASM Global failed to stop mass chants of a homophobic slur during the Gold

     Cup Final.

            205.        The Chicago Park District has not terminated the Management Contract with

     ASM Global even though a global audience witnessed homophobic violations of the Illinois

     Human Rights Act.

            206.        The Chicago Park District has not terminated the Management Contract with

     ASM Global even though ASM Global materially breached its obligations under Section 19.2

     (Anti-Discrimination) of the Management Contract during the Gold Cup Final.
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     Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 36 of 44 PageID #:46




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            207.         The Chicago Park District has not terminated the Management Contract with
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N    ASM Global even though ASM Global materially breached its obligations under Section 19.28

     (Compliance) of the Management Contract during the Gold Cup Final.

            208.         Even after the Illinois Deparhnent of Human Rights investigated and found

     substantial evidence that Soldier Field and its management company had violated the Illinois

     Human Rights Act, the Chicago Park District has not terminated the Management Contract.

            209.         By failing to terminate the Management Contract, the Chicago Park District

     has not only violated its public trust but has further violated by the Illinois Human Rights Act.

            210.         By failing to terminate the Management Contract after ASM Global

     discriminated on the basis of sexual orientation against Plaintiffs and the LGBT community, the

     Chicago Park District has failed to take necessary and appropriate action to prevent further

     violations of the Illinois Human Rights Act during international soccer matches at Soldier Field.



                                       FIRST CAUSE OF ACTION

                               (Violation of the Illinois Human Rights Act —

                   Public Accommodations Discrimination Based on Sexual Orientation)

            211.         Plaintiffs incorporate by reference each of the preceding paragraphs.

            212.         Soldier Field is a place of public accommodation within the meaning of the

     Illinois Human Rights Act.

            213.         Chicago Park District is an owner and operator of Soldier Field within the

     meaning of the Illinois Human Rights Act.

            214.         ASM Global is an operator of Soldier Field within the meaning of the Human

     Rights Act.
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     Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 37 of 44 PageID #:47




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             215.       Under the Illinois Human Rights Act, Plaintiffs can establish a prima facie
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N    case for public accommodation discrimination by showing that each plaintiff: (1) is a member of

     a protected class; (2) attempted to exercise his right to full benefits and enjoyment of

     Defendants' facilities; (3) was denied those benefits and enjoyment; and (4) was treated less

     favorably than similarly situated persons outside his protected class.

             216.        Plaintiffs LCDR Penland, Gerner, and Paul C. Burke are gay men entitled to

     protection against discrimination based on sexual orientation at places of public accommodation

     in Illinois.

             217.       When he attended the Gold Cup Final at Soldier Field, Plaintiff Edward Burke

     sat with and affiliated throughout the match with three gay men. Plaintiff Edward Burke

     believes that he was perceived as a gay man as a result by both other attendees and the officials

     at Soldier Field with whom he interacted before, during, and after the game. Edward Burke is

     entitled to protection against discrimination based on his association with LGBT persons at

     places of public accommodation in Illinois.

             218.       Plaintiff Edward Burke also wore official U.S. National Team gear celebrating

     Pride Month to the Gold Cup Final and believes that he was perceived as a gay man as a result

     by both other attendees and the officials at Soldier Field with whom he interacted before, during,

     and after the game. Edward Burke is entitled to protection against discrimination based on his

     perceived sexual orientation and his association with LGBT persons at places of public

     accommodation in Illinois.

             219.       Plaintiffs attempted to exercise their rights to the full benefits and enjoyment

     of Defendants' facilities by purchasing tickets and attending the Gold Cup Final at Soldier Field

     on July 7, 2019.
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      Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 38 of 44 PageID #:48




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(0            220.       Plaintiffs attempted to exercise their rights to the full benefits and enjoyment
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N     of Defendants' facilities by providing the management of Soldier Field and the general counsel
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~     of the Chicago Park District with advance written warning of the expected misconduct by
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              221.       Plaintiffs further attempted to exercise their rights to the full benefits and
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      misconduct using the security number published by Solder Field on its website. Plaintiffs also

      complained about the discriminatory conduct to stadium and security officials stationed, among

      other places, on the concourse above their seats.

              222.       As a ticket-holders and attendees of the Gold Cup Final at Soldier Field, each

      Plaintiff was entitled to the full and equal enjoyment of this event, which was denied to Plaintiffs

      because Defendants subjected them to unaddressed homophobic misconduct by other fans.

              223.       The Chicago Park District, Soldier Field, and its management company

      discriminated against LCDR Penland, Karl Gerner, Edward Burke, and Paul Burke as well as

      similarly situated LGBT fans by failing to take necessary actions to protect LGBT patrons from

      anti-gay misconduct by the overwhelming majority of Mex'ico team supporters during the Gold

      Cup Final.

              224.       Plaintiffs were denied their right to full benefit and equal enjoyment of the

      Gold Cup Final because the Chicago Park District, Soldier Field, and its management company

      failed in their respective duties to regulate fan conduct to protect the safety and dignity of LGBT

      fans.




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     Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 39 of 44 PageID #:49




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            225.        As gay men, LCDR Penland, Gerner, and Paul Burke were denied full and
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N    equal enjoyment of Defendant's facilities at Soldier Field during the Gold Cup because they

     were exposed to more than two dozen Discriminatory Chants.

            226.        Because he associated with gay men and his clothing caused others to

     perceive him to be a gay men, Edward Burke was denied full and equal enjoyment of

     Defendant's facilities at Soldier Field during the Gold Cup because he was exposed to more than

     two dozen Discriminatory Chants.

            227.        The Chicago Park District, Soldier Field, and its management company failed

     to prevent and failed to stop persistent fan misconduct that targeted and stigmatized gay persons

     during the Gold Cup Final. LGBT fans were treated less favorably than straight fans because the

     Chicago Park District, Soldier Field, and its management company did not stop anti-gay slurs

     from being chanted repeatedly by supporters of Mexico's national team.

            228.        LGBT fans including LCDR Penland, Gerner, and Paul Burke were

     predictably and repeatedly subjected to chants of a Spanish-language anti-gay slur by tens of

     thousands of supporters of Mexico's national team who dominated the crowd at Soldier Field.

     Straight persons were not similarly targeted or subjected to any similar unaddressed fan

     misconduct based on sexual orientation during the Gold Cup Final.

            229.        As gay men, LCDR Penland, Karl Gerner, and Paul Burke were treated less

     favorably than straight persons because the Chicago Park District, Soldier Field, and its

     management company failed to enforce Soldier Field's Code of Conduct when anti-gay

     misconduct occurred repeatedly at the Gold Cup Final soccer match.

            230.        This failure not only damaged the dignity of LGBT persons during the Gold

     Cup Final but it also endangered them, since the repeated failures of responsible authorities to
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     Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 40 of 44 PageID #:50




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o    protect LGBT fans from discriminatory fan misconduct created a hostile and dangerous
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N    atmosphere for LGBT persons.

              231.      This failure particularly endangered fans like Edward Burke, Paul Burke who

     were wearing official U.S. National Team gear celebrating Pride Month that had the effect of

     identifying or associating them with the LGBT community.

              232.      As a result of discrimination based on sexual orientation by each Defendant,

     each Plaintiff was denied his rights under Illinois law to the full benefit and equal enjoyment of

     the Gold Cup Final soccer match.

                                      SECOND CAUSE OF ACTION

                               (Civil Conspiracy to Commit a Hate Crime —

                                Hate Crime Based on Disorderly Conduct)

              233.      Plaintiffs incorporate by reference each of the preceding paragraphs.

              234.      Fans of Mexico's national team repeatedly and thunderously shouted the

     Discriminatory Chant with the explicit purpose to alarm or disturb the players of the United

     States Men's National Team and its fans, including Plaintiffs, and to provoke a breach of the

     peace.

              235.      Disorderly Conduct is a predicate offense under the Illinois Hate Crimes Act.

              236.      Under the Illinois Hate Crimes Act, for each of the twenty-eight

     Discriminatory Chants, each Plaintiff may be entitled to an amount up to the maximum amount

     authorized by Section 12-7.1(c) of the Illinois Criminal Code

              237.      The Discriminatory Chant by which fans of Mexico's national team

     repeatedly and thunderously committed disorderly conduct was motivated by the protected

     characteristics gender, gender identity, or sexual orientation.

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     Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 41 of 44 PageID #:51




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            238.        Defendants were subjected to the Discriminatory Chant no less than 28 times.
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N           239.        Defendants were subjected to the Discriminatory Chant because of their actual

     or perceived gender, gender identity, or sexual orientation.

            240.        Defendants were subjected to disorderly conduct with each Discriminatory

     Chant based on their actual or perceived gender, gender identity, or sexual orientation.

            241.        Defendants Soldier Field, the Chicago Park District, ASM Global, and fans of

     Mexico's national team are each persons under the law.

            242.        Defendant Soldier Field sought to hold the Gold Cup Final under anti-LGBT

     conditions through unlawful means because it was warned and knew that holding the Gold Cup

     Final while taking no preventative measures would cause fans of Mexico's national team to

     repeatedly engage in Disorderly Conduct through the Discriminatory Chant.

            243.        Defendant the Chicago Park District sought to hold the Gold Cup Final under

     anti-LGBT conditions through unlawful means because it was warned and knew that holding the

     Gold Cup Final while taking no preventative measures would cause fans of Mexico's national

     team to repeatedly engage in Disorderly Conduct through the Discriminatory Chant.

            244.        Defendant ASM Global sought to hold the Gold Cup Final under anti-LGBT

     conditions through unlawful means because it was warned and knew that holding the Gold Cup

     Final while taking no preventative measures would cause fans of Mexico's national team to

     repeatedly engage in Disorderly Conduct through the Discriminatory Chant.

            245.        Fans of Mexico's national team each sought to hold the Gold Cup Final under

     anti-LGBT conditions through unlawful means because they knew that holding the Gold Cup

     Final while Plaintiffs Soldier Field, Chicago Parks District, and ASM Global took no



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      Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 42 of 44 PageID #:52




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o     preventative measures would allow fans of Mexico's national team to repeatedly engage in
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N     Disorderly Conduct through the Discriminatory Chant.

             246.        Fans of Mexico's national team did repeatedly and thunderously commit

      disorderly conduct by using the Discriminatory Chant, in furtherance of the conspiracy to hold

      the Gold Cup Final under anti-LGBT conditions.


                                          DEMAND FOR JURY TRIAL

             Plaintiffs hereby demand a jury trial.

                                          PRAYER FOR RELIEF

             WHEREFORE, Plaintiffs pray for judgment against Defendant as follows:

                     For all Make Whole relief as authorized by Section 8A-104(J) of the Illinois

      Human Rights Act by taking "any action as may be necessary" in order to make Plaintiffs whole,

      including but not limited to the award of actual, compensatory, and general damages;

             2.      For a Cease and Desist Order as authorized by Section 8A-104(A) of the Illinois

      Human Rights Act commanding Defendants to cease and desist from violating the Act by failing

      to protect LGBT patrons from homophobic abuse by other patrons during events at Soldier Field;

                     For a Cease and Desist Order as authorized by Section 8A-104(A) of the Illinois

      Human Rights Act commanding Defendants to extend to Plaintiffs and all similarly situated

      LGBT patrons the full and equal enjoyment of the goods, services, facilities, privileges,

      advantages, or accommodations of the Defendants, including but not limited to Soldier Field;

             4.      For an Order as authorized by Section 8A-104(F) of the Illinois Human Rights

      Act commanding Defendants to extend to Plaintiffs and all similarly situated LGBT patrons the




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     Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 43 of 44 PageID #:53




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o0   full and equal enjoyment of the goods, services, facilities, privileges, advantages, or
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N    accommodations of the Defendants, including but not limited to Soldier Field;

                      For an Order as authorized by Section 8A-104(F) of the Illinois Human Rights

     Act or a permanent injunction requiring Defendants to comply with the Illinois Human Rights

     Act by protecting LGBT patrons from homophobic abuse by other patrons during all events at

     Soldier Field;

            6.        For all actual damages of Plaintiffs as authorized by Section 8A-104(B) of the

     Illinois Human Rights Act;

            7.        For a civil penalty in an amount in excess of $75,000 authorized by Section 12-

            7.1(c) of the Illinois Criminal Code.

                      Actual damages, including emotional distress damages in an amount to be

            determined by a jury as authorized by Section 12-7.1(c) of the Illinois Criminal Code.

            9.        For punitive damages in an amount to be determined by a jury as authorized by

            Section 12-7.1(c) of the Illinois Criminal Code

            10.       For a civil penalty of $2,600,000 as authorized by Section 12-7.1(c) of the Illinois

     Criminal Code.

            11.       For punitive damages in the amount of $2,600,000 as authorized by Section 12-

     7.1(c) of the Illinois Criminal Code.

            12.       For all attorney fees incurred by Plaintiffs both during this action and during the

     pendency of their charges before the Illinois Department of Human Rights, as authorized by

     Section 8A-104(G) of the Illinois Human Rights Act;




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    Case: 1:21-cv-05581 Document #: 1-2 Filed: 10/20/21 Page 44 of 44 PageID #:54




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0          13.     For all costs, including expert witness fees, incurred by Plaintiffs both during this
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N   action and during the pendency of their charges before the Illinois Department of Human Rights,

    as authorized by Section 8A-104(G) of the Illinois Human Rights Act;

           14.     For all attorney fees and costs as appropriate;

           15.     For all costs and expenses of collection incurred through the collection of

    judgment, including reasonable attorney fees and legal expenses; and,

           16.     For any other relief as the Court deems just and proper.

           DATED this 6th day of July, 2021.




                                          SCHOENBERG FINKEL BEEDERMAN BELL GLAZER LLC

                                          /s/ Mark A. Flessner
                                          Mark A. Flessner

                                          Attorneysfor Plaintiffs


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